              Case 2:08-cr-00212-TLN Document 637 Filed 01/07/19 Page 1 of 2


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     Damone D. Block
 6
                            IN THE UNITED STATES MAGISTRATE COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                         ) No. 2:08 CR 212 LKK/TLN
                                                       )
10
                                                       )
            Plaintiff,                                 ) APPLICATION AND ORDER
11
                                                       ) EXONERATING BOND
     v.                                                )
12
                                                       )
     DAMONE D. BLOCK,                                  )
13
                                                       )
                                                       )
14          Defendant.                                 )
                                                       )
15
                                                       )
                                                       )
16

17
            On December 12, 2009, defendant Damone D. Block was sentenced by the Hon.
18
     Lawrence K. Karlton. (Mr. Block was subsequently "re-sentenced" on February 3, 2015, by the
19
     Honorable Troy L. Nunley.) Defendant had previously posted a $200,000.00 appearance bond
20
     secured by a deed of trust on/for the property (and residence) located at 9442 Roseburg Court,
21
     Sacramento, CA 95826. Accordingly, the surety for the defendant’s bail bond is entitled to the
22
     release of the home title, and it is respectfully requested that this Court direct the Clerk of the
23
     Court to reconvey title forthwith, and that the bond be exonerated.
24

25
     ///
26

27
     ///
28




                                                        1
             Case 2:08-cr-00212-TLN Document 637 Filed 01/07/19 Page 2 of 2



 1

 2   DATED: January 4, 2019              /s/ John R. Manning
                                         Attorney for Defendant
 3
                                         Damone D. Block
 4

 5   IT IS SO ORDERED.
 6
     Dated: January 4, 2019
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           2
